      Case 18-07098-JMC-13                    Doc 40        Filed 02/12/19           EOD 02/12/19 16:18:17              Pg 1 of 1


                                         UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF Southern Indiana

                                                       Minute Entry/Order
Hearing Information:
                         Debtor:   KIMBERLY ELAINE HARRIS
                  Case Number:     18-07098-JMC-13                     Chapter: 13

          Date / Time / Room:      TUESDAY, FEBRUARY 12, 2019 01:00 PM IP 325

         Bankruptcy Judge:         JAMES M. CARR
               Courtroom Clerk:    HEATHER BUTLER
                Reporter / ECR:    HEATHER BUTLER                                                                               0.00


Matter:
              Continued Hearing on Trustee's Objection to Confirmation of Amended Plan [18], [30]
              R / M #:   0/ 0


Appearances:

        MOLLY MILLER, TRUSTEE
        KEITH GIFFORD, ATTORNEY FOR KIMBERLY ELAINE HARRIS

Proceedings:                                                                                                             1.00

        Disposition: Hearing held. Objection sustained. All outstanding taxes or BC100 to be submitted to the Trustee
        and amended plan to be filed within 30 days.


IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




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